Case 2:02-cr-14084-KAM Document 77 Entered on FLSD Docket 02/28/2006 Page 1 of 6
USDC F L SD 245B (Rev 12/03) - Judgment in a Crim e




                                                                                                                   FEB 2 4 200 6
                                            United States District Court
                                                                                                                    CLARENCE MADDOX
                                                      Southern District of Florid a                                CLERK U .S . D1ST . CT.
                                                                                                                  S.D. OF FLA . FT. LAUD .
                                                         FT . LAUDERDALE DIVISION


UNITED STATES OF AMERICA THIRD AMENDED JUDGMENT IN A CRIMINAL CASE
                                (Second Amendment to Restitution Amount)

v.         Case                                       Number : 02-14084-Cr-Marra

JOHN MACARI
                                                                        USM Number : 74725-004

                                                                        Counsel For Defendant: Richard Lubi n
                                                                        Counsel For The United States : James McAdams, III
                                                                        Court Reporter : Stephen Frankli n




The defendant pleaded guilty to Count 1 of the Information
The defendant is adjudicated guilty of the following offense(s) :


       TITLE/SECTION NATURE OF
         NUMBER OFFENSE OFFENSE ENDED COUNT

  18 U .S .C .§ 1341 Mail fr aud                                    200 1


The defendant is sentenced as provided in the following pages of this judgment . The sentence is imposed pursuant to
the Sentencing Reform Act of 1984 .

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid . If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material changes in economic circumstances .

                                                                                  Date of Imposition of Sentence :
                                                                                  9/16/2005




                                                                                  KENNETH A . MARRA
                                                                                  United States District Judge
                                                                                 4- 2 JA '^ t
                                                                                  Dwexmber        ' 3      20016
Case 2:02-cr-14084-KAM Document 77 Entered on FLSD Docket 02/28/2006 Page 2 of 6
 US D C FLSD 245B ( Re v . 12/0 3) - Judgment in a Crum
                                                                                                               Page 2 of 6




DEFENDANT : JOHN MACARI
CASE NUMBER : 02-14084-Cr-Marra


                                                          IMPRISONMEN T

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a terns of 9 Months .

               The Court makes the following recommendations to the Bureau of Prisons :

                             That the defendant be incarcerated in a prison camp .

The defendant's surrender will be determined at January 23, 2006 hearing .




                                                              RETURN

I have executed this judgment as follows :




Defendant delivered on t o


at , with a certified copy of this judgment .




                                                                                     UNITED STATES MARSHA L


                                                                            By:
                                                                                        Deputy U.S . Marshal
Case 2:02-cr-14084-KAM Document 77 Entered on FLSD Docket 02/28/2006 Page 3 of 6
USDC FLSD 245B (Rev 12103) - Judgment in a Crune .                                                                        Page 3 of 6




DEFENDANT : JOHN MACARI
CASE NUMBER : 02-14084-Cr-Marra

                                                     SUPERVISED RELEAS E

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .

         The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from custody of the Bureau of Prisons .

The defendant shall not commit another federal, state or local crime .

The defendant shall not unlawfully possess a controlled substance . The defendant shall refrain from any unlawful use
of a controlled substance . The defendant shall submit to one drug test within 15 days of release from imprisonment
and at least two periodic drug tests thereafter, as determined by the court .

             The defendant shall not possess a firearm , destructive device, or any other dangerous weapon .


        If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment .

         The defendant must comply with the standard conditions that have been adopted by this court as well as any
additional conditions on the attached page .



                                            STANDARD CONDITIONS OF SUPERVISIO N

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer ;
2 . The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a t utlhful
          and complete written report within the tirst five days of each month ;
3 . The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4 . The defendant shall support his or her dependents and meet other family responsibilities ;
5 . The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
          or other acceptable reasons ;
6 . The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment ;
7 . The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or
          administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by
          a physician ;
8 . The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered ;
9 . The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
          convicted of a felony unless granted permission to do so by the probation officer ;
10 . The defendant shall permit a probation offieer to visit him or her at any time at home or elsewhere and shall permi t
                                  '...~""               . k:.u vy ual. ~1 vl/nuV11 UL11GG1 ,

11 . The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law
          enforcement officer ;
12 . The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court ;
13 . As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement .
Case 2:02-cr-14084-KAM Document 77 Entered on FLSD Docket 02/28/2006 Page 4 of 6
USDC F LSD 24 58 ( Rev. 1 2/03) - Judgme n t ui a Crim e   Page                          4             of 6




DEFENDANT : JOHN MACARI
CASE NUMBER : 02-14084 -Cr-Marr a

                                       SPECIAL CONDITIONS OF SUPERVISIO N

            The defendant shall also comply with the following additional conditions of supervised release :

         The defendant shall not be engaged in any business that offers securities, investments, or business
opportunities to the public . The defendant is further prohibited from engaging in telemarketing, direct mail, or
national advertising campaigns for business purposes without the permission of the U .S . Probation Officer.

       The defendant shall obtain prior approval from the U .S . Probation Officer before entering into any self-
employment .

        The defendant shall submit to a search of his person or property conducted in a reasonable manner and at a
reasonable time by the U.S . Probation Officer .
Case 2:02-cr-14084-KAM Document 77 Entered on FLSD Docket 02/28/2006 Page 5 of 6
USD C FLSD 245B ( Rev. 122/03) - Judgme n t in a Crim e                                                                                      Page 5 of 6




DEFENDANT : JOHN MACARI
CASE NUMBER : 02-14084-Cr-Marr a

                                                      CRIMINAL MONETARY PENALTIE S


               The defendant must pay the total criminal monetary penalties under the Schedule of Payments .


                 Total Assessment Total Fin e                                                                     Total Restitutio n

                         $100 .00                              $                                                    $1, 912,500 .00


       It is ordered that the defendant make joint and several restitution with the co-
conspirators , totaling $1 ,912,500 .00 to the victims in the attached list .

         During the period of incarceration, payment shall be made as follows : (1) if the defendant
earns wages in a Federal Prison Industries (UNICOR) job, then the defendant must pay 50% of
wages earned toward the financial obligations imposed by the judgment in a Criminal Case ; (2) if
the defendant does not work in a UNICOR job, then the defendant must pay $25 .00 per quarter
toward the financial obligations imposed in this order.
         Upon release from incarceration, the defendant shall pay restitution at the rate of 10% of
monthly gross earning, until such time as the court may alter that payment schedule in the
interests of justice . The U .S. Bureau of Prisons, U .S . Probation Office and U .S . Attorney's Office
shall monitor the payment of restitution and report to the court any material change in the
defendant's ability to pay . These payment do not preclude the government from using any other
anticipated or unexpected financial gains, assets or income of the defendant to satisfy the
restitution obligations . The restitution and fine shall be made payable to CLERK, UNITED
STATES COURTS, and forward to :

              CLERK OF THE COURT
              ATTN ; FINANCIAL SECTION, ROOM 150
              301 NORTH MIAMI AVENU E
              MIAMI, FLORIDA 33128-778 8

who will then forward the restitution payment to the victims in the list attached to this report the
restitution and fine are payable immediately . The U .S . Bureau of Prisons, U .S . Probation Office
and the U .S . Attorney's Office are responsible for the enforcement of this order .


*Findings for the total amount of losses a re required under Chapters 109A, 110, I IOA, and 113A of Title 18, United States Code, for offenses
committed on or after September 13, 1994, but before April 23, 1996 .
Case 2:02-cr-14084-KAM Document 77 Entered on FLSD Docket 02/28/2006 Page 6 of 6
USDC FLSD 2458 (Rev. 12103) - Judgment in a Ctvnui                                                                Page 6 of 6




DEFENDANT : JOHN MACARI
CASE NUMBER : 02-14084-Cr-Marra

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows :

              A . Lump sum payment of $100 .00 due immediately.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment . All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons' Innate Financial Responsibility Program, are made to the clerk of the
court .

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed .

The assessment/fine/ restitution is payable to the U .S . COURTS and is to be addressed to :

              U .S . CLERK ' S OFFICE
              ATTN : FINANCIAL SECTIO N
              301 N. MIAMI AVENUE, ROOM 150
              MIAMI, FLORIDA 3312 8

The assessment/ fine/ restitution is payable immediately . The U .S . Bureau of Prisons, U .S . Probation Office
and the U .S . Attorney' s Office are responsible for the enforcement of this order .




Payments shall be applied in the following order : (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of
prosecution and court costs .
